       Case 1:18-cr-00098-SCJ-LTW Document 231 Filed 09/14/22 Page 1 of 1

                          UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF GEORGIA
                                   2211 UNITED STATES COURTHOUSE
                                      75 TED TURNER DRIVE, SW
                                    ATLANTA, GEORGIA 30303-3361
KEVIN P. WEIMER                                                                  DOCKETING SECTION
DISTRICT COURT EXECUTIVE                                                                  404-215-1655
AND CLERK OF COURT
                                           September 14, 2022

Clerk's Office - USCA No. 00-00000-00
U.S. Court of Appeals
Eleventh Circuit
56 Forsyth Street, NW
Atlanta, Georgia 30303

        Re:        United States of America v. Mitzi Bickers
                   USDC Criminal No. 1:18-cr-98-SCJ-LTW-1

       Enclosed are documents regarding an appeal in the action referenced above. Please
acknowledge receipt of same on the enclosed copy of this letter.

        Certified copy of notice of appeal, docket, order and/or judgment, and commitment
   X    appealed from enclosed.

        Original non-electronic record exhibits transmitted pursuant to request. (See attached copy of
        request.)

   X    Appeal fees HAVE been paid electronically. (Receipt# AGANDC-12065702)

        Certified copy of order appointing Federal Defender Program enclosed.

        Certified copy of CJA order appointing counsel enclosed.

        Appellant has been forwarded an application to proceed IFP.

        Appellant has been leave to proceed IFP, copy of order enclosed.

        An appeal bond has been denied.

   X    District Judge appealed from is Honorable Steve C. Jones.

        Other: .

The enclosed certified, record on appeal consists of:

         Volume(s) of pleadings                                 Envelope of Exhibits

         Volume(s) of transcripts.                              PSI enclosed. (SEALED)

                                                        Sincerely,

                                                        Kevin P. Weimer
                                                        Clerk of Court

                                                  By:   /s/P. McClam
Enclosures                                              Deputy Clerk
